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                UNITED STATES COURT OF INTERNATIONAL TRADE


                                            )
AD HOC SHRIMP TRADE                         )
ENFORCEMENT COMMITTEE                       )
                                            )
               Plaintiff,                   )             Court No. 21-00129
                                            )
       v.                                   )
                                            )
UNITED STATES,                              )
                                            )
               Defendant.                   )
                                            )


                                         COMPLAINT

       Plaintiff Ad Hoc Shrimp Trade Enforcement Committee (“Plaintiff” or “AHSTEC”), by

and through its undersigned attorneys, makes the following allegations.


                              DETERMINATION CONTESTED

       1.      Plaintiff brings this Complaint to contest portions of the determination of evasion

made by U.S. Customs and Border Protection (“CBP”), Office of Trade (“OT”), Trade Remedy

& Law Enforcement Directorate (“TRLED”) pursuant to 19 U.S.C. § 1517(c) and the de novo

administrative review of that determination conducted by CBP, OT, Regulations and Rulings

(“ORR”) pursuant to 19 U.S.C. § 1517(f) in the Enforce and Protect Act (“EAPA”) investigation

into MSeafood Corporation (“MSeafood”), EAPA Case Number 7356. The TRLED

determination of evasion was issued on October 13, 2020. See Letter from Brian M. Hoxie,

Director, Enforcement Operations Division, TRLED, CBP OT, re: Notice of Determination as to

Evasion (Oct. 13, 2020) (Public Version) (“Final Affirmative Determination Letter”). The ORR

de novo administrative review determination was issued on February 11, 2021. See Letter from

Paul Pizzeck, Chief, Penalties Branch, ORR, OT, CBP and Joanne R. Stump, Acting Executive
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Director, ORR, OT, CBP, re: Enforce and Protect Act (“EAPA”) Case Number 7356; 19 U.S.C.

§ 1517; Minh Phu Group (Feb. 11, 2021) (Public Version) (“Administrative Review

Determination”).


                                        JURISDICTION

       2.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c), as this

action is commenced under Section 517(g) of the Tariff Act of 1930, as amended,

19 U.S.C. § 1517(g).


                               TIMELINESS OF THE ACTION

       3.      Plaintiff is commencing this action by concurrently filing a Summons and

Complaint on March __, 2021, within 30 business days after the completion on February 11,

2021 of the de novo administrative review of the TRLED determination of evasion. See

Administrative Review Determination. The Summons and Complaint are therefore timely filed

pursuant to 19 U.S.C. § 1517(g) and Rule 3(a)(3) of this Court.


                                           STANDING

       4.      Plaintiff has standing to commence this action pursuant to 19 U.S.C. § 1517(g).

Plaintiff is an ad hoc trade association of which a majority of its members manufacture, produce,

or wholesale a domestic like product in the United States and is an interested party pursuant to

19 U.S.C. § 1517(a)(6)(A)(iv) and 19 C.F.R. § 165.1. Plaintiff filed the allegation of evasion

that resulted in the initiation of the underlying EAPA investigation.


                                        BACKGROUND

       5.      On February 1, 2005, the U.S. Department of Commerce (“Commerce”) issued

affirmative amended final determinations and antidumping duty orders on certain frozen

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warmwater shrimp from India and, separately, certain frozen warmwater shrimp from the

Socialist Republic of Vietnam. See Certain Frozen Warmwater Shrimp from India, 70 Fed.

Reg. 5,147 (Dep’t Commerce Feb. 1, 2005) (notice of amended final determination of sales at

less than fair value and antidumping duty order) and Certain Frozen Warmwater Shrimp from the

Socialist Republic of Vietnam, 70 Fed. Reg. 5,152 (Dep’t Commerce Feb. 1, 2005) (notice of

amended final determination of sales at less than fair value and antidumping duty order).

       6.      Effective July 18, 2016, Commerce revoked the antidumping duty order on

certain frozen warmwater shrimp from the Socialist Republic of Vietnam with respect to Minh

Phu Seafood Corporation and that company’s affiliates, Minh Qui Seafood Co., Ltd., Minh Phat

Seafood Co., Ltd., and Minh Phu Hau Giang (collectively, the “Minh Phu Group”). See Certain

Frozen Warmwater Shrimp from the Socialist Republic of Vietnam, 81 Fed. Reg. 47,756 (Dep’t

Commerce July 22, 2016) (notice of implementation of determination under Section 129 of the

Uruguay Round Agreement Act and partial revocation of the antidumping duty order). As the

result of this agency action, frozen warmwater shrimp that is “produced and exported by the

Minh Phu Group” is not subject to the antidumping duty order on Vietnamese shrimp. Id. at

47,757.

       7.      On October 9, 2019, CBP’s TRLED initiated an investigation pursuant to

Section 421 of the Trade Facilitation and Trade Enforcement Act of 2015, commonly referred to

as the Enforce and Protect Act, i.e., EAPA, in response to an allegation submitted by Plaintiff.

See Letter from Christopher Bowman, Acting Director, Enforcement Operations Division,

TRLED, CBP OT, re: Notice of Initiation of Investigation and Interim Measures – EAPA Case

7356 (Jan. 14, 2020) (Public Version) (“Interim Measures Letter”). The initiation of the

investigation was based on Plaintiff’s allegation that MSeafood, a U.S. importer affiliate of the



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Minh Phu Group, was evading the antidumping duty order on certain frozen warmwater shrimp

from India by transshipping Indian-origin shrimp through Vietnam without declaring these

products as subject to antidumping duties or making the requisite antidumping duty cash deposits

on entries of this Indian-origin shrimp.

       8.      On January 14, 2020, the TRLED issued its notice of initiation of the

investigation and interim measures. The TRLED concluded, based on the record evidence, that a

“reasonable suspicion exists that the frozen shrimp that MSeafood imported into the United

States from Vietnam may be of Indian-origin and should have been subject to [antidumping]

duties.” Interim Measures Letter at 7.

       9.      Following initiation, CBP issued requests for information to the foreign producer

and MSeafood. Despite these requests for information being part of the administrative record,

copies of these requests for information were not provided to AHSTEC.

       10.     Between January 31, 2020 and May 1, 2020, Minh Phu Group made a number of

submissions to TRLED. Only the public versions of these submissions were provided to

AHSTEC. These public versions were required, by the agency’s regulations at

19 C.F.R. § 165.4, to include public summaries containing “a summary of the bracketed

information in sufficient detail to permit a reasonable understanding of the substance of the

information.” In the event that such a summary was not possible, CBP’s regulations require that

“the claim must be accompanied by a full explanation of the reasons supporting that claim.”

       11.      AHSTEC made multiple submissions between February 28, 2020 and May 7,

2020 requesting that CBP reject Minh Phu Group’s submissions because they lacked adequate

public summaries and failed to include a full explanation of the reasons as to why the provision

of public summaries was not possible.



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        12.     On October 13, 2020, the TRLED issued a notice of final determination of

evasion. See Final Affirmative Determination Letter. The TRLED found, based on the record

evidence developed over the course of a 12-month investigation, “that Minh Phu has been co-

mingling Indian-origin shrimp with Vietnamese-origin shrimp on imports to the United States.”

Id. at 10.

        13.     On November 10, 2020, CBP’s ORR commenced a de novo administrative review

of the TRLED’s determination of evasion in response to a request from the Minh Phu Group,

including MSeafood. See Administrative Review Determination at 1 (Public Version).

        14.     On February 11, 2021, CBP’s ORR issued its de novo administrative review

determination. ORR reversed the TRLED’s final affirmative determination of evasion, holding

that the TRLED had inappropriately applied adverse inferences based on the Minh Phu Group’s

inability to trace imported shrimp through its production process and that, by providing

information describing the company’s inability to identify the final disposition of shrimp

imported from India, the Minh Phu Group had responded to agency requests “to the best of its

ability.” Id. at 9. Although the Minh Phu Group had conceded on the record of the proceeding

that the company, in fact, exported Indian-origin shrimp to the United States customs territory in

at least one shipment without declaring the shipment as subject to the antidumping duty order on

certain frozen warmwater shrimp from India, ORR held that “there is insufficient evidence that

Indian-origin shrimp was contained in [the Minh Phu Group’s] entries during the period of

investigation.” Id. at 10.




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                                  STATEMENT OF CLAIMS

                                          COUNT ONE

        15.     Plaintiff incorporates the allegations contained in paragraphs 1 through 14 as fully

set forth herein.

        16.     ORR erred in reversing the determination by the TRLED to apply adverse

inferences to MSeafood due to the company’s failure to provide CBP with information

reasonably requested by the agency.

        17.     Specifically, ORR erred in concluding that the TRLED lacked a basis for

applying adverse inferences due to the Minh Phu Group’s inability to report to the agency how

shrimp imported from India was used by the company in its production process. The Minh Phu

Group conceded that it was not able to trace how Indian shrimp imports were used in its

production process from specific bills of lading to specific export sales and ORR acknowledged

that the Minh Phu Group was incapable of tracking how specific imports of Indian shrimp were

utilized in the company’s production process.

        18.     ORR’s determination to reject the TRLED’s application of an adverse inference

due to the Minh Phu Group’s inability to trace shrimp imported from India from specific bill of

lading to a specific export sale and ORR’s unilateral acceptance of the Minh Phu Group’s clear

and obvious deficiencies in its recordkeeping and record maintenance is arbitrary, capricious, an

abuse of discretion, and is otherwise not in accordance with law.


                                          COUNT TWO

        19.     Plaintiff incorporates the allegations contained in paragraphs 1 through 18 as fully

set forth herein.

        20.     ORR erred in reversing the initial determination of evasion as to MSeafood.


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        21.     Specifically, ORR acknowledged that the evidence on the record of the

proceeding demonstrated that the Minh Phu Group had co-mingled Indian-origin shrimp with

Vietnamese-origin shrimp in a shipment of frozen warmwater shrimp to the customs territory of

the United States. Addressing that part of the record, ORR stated that “[d]ue to insufficient

documentary evidence on the record” regarding this incident “CBP cannot speak to whether this

shipment qualifies as a clerical error under the EAPA.” Administrative Review Determination

at 9. ORR, however, failed to identify what, if any, deficiency existed with respect to the

evidence on the record as to this co-mingling of Indian-origin shrimp.

        22.     Moreover, as there was no dispute that the Minh Phu Group is incapable of

tracing Indian-origin shrimp from importation through to export, ORR provided no reasonable

explanation as to why substantial evidence on the record supported a determination that

MSeafood had not evaded the antidumping duty order on certain frozen warmwater shrimp from

India during the period of investigation.

        23.     ORR’s determination that substantial evidence on the record did not support a

finding that MSeafood had evaded the antidumping duty order on certain frozen warmwater

shrimp from India during the period of investigation is arbitrary, capricious, an abuse of

discretion, and is otherwise not in accordance with law.


                                         COUNT THREE

        24.     Plaintiff incorporates the allegations contained in paragraphs 1 through 23 as fully

set forth herein.

        25.     In conducting its investigation into MSeafood, TRLED failed to maintain the

record in accordance with 19 C.F.R. § 165.21 by not serving copies of Requests for Information

sent to Minh Phu Group and MSeafood and other record documents on all parties to the


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investigation. TRLED also failed to serve public versions of documents cited in its

determination as to evasion on all interested parties.

        26.     By failing to comply with the agency’s regulations regarding maintenance of the

administrative record, the resulting determinations issued by CBP are arbitrary, capricious, an

abuse of discretion, and are otherwise not in accordance with law.


                                          COUNT FOUR

        27.     Plaintiff incorporates the allegations contained in paragraphs 1 through 26 as fully

set forth herein.

        28.     In conducting its investigation into MSeafood, TRLED failed to reject

submissions made by the Minh Phu Group (including MSeafood) that did not contain a summary

of the business confidential information in sufficient detail to permit a reasonable understanding

of the substance of the information or, in the alternative, a full explanation of the reasons as to

why summarization was not possible.

        29.     By failing to comply with the agency’s regulations, the resulting determinations

issued by CBP are arbitrary, capricious, an abuse of discretion, and are otherwise not in

accordance with law.


                                    REQUEST FOR RELIEF

        30.     Wherefore, Plaintiff respectfully requests that this Court:

                a.     hold that TRLED failed to maintain the administrative record consistent

                       with CBP’s regulations;

                b.     hold that TRLED failed to require that public summaries contain a

                       summary of the bracketed information in sufficient detail to permit a



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                    reasonable understanding of the substance of the information or, in the

                    alternative, a full explanation as to why summarization was not possible;

             c.     hold that CBP’s ORR determination in its de novo administrative review is

                    arbitrary, capricious, an abuse of discretion, and is otherwise not in

                    accordance with law;

             d.     remand this matter to CBP for disposition consistent with the Court’s final

                    opinion and order; and

             e.     provide such other relief as this Court deems just and appropriate.



                                                           Respectfully submitted,

                                                           /s/ Nathaniel Maandig Rickard
                                                           Nathaniel Maandig Rickard
                                                           Zachary J. Walker

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                                                           Trade Enforcement Committee

Dated: March 23, 2021




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